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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                          *
                                                  *
               v.                                 *
                                                  *     CRIMINAL NO. TDC-18-157
LEEELBAZ,                                         *
   a/k/a "Lena Green"                             *
                                                  *
               Defendant                          *
                                                  *
                                              *******

       ORDER GRANTING CONTINUANCE PURSUANT TO 18 U.S.C. & 316l(h)

       Upon consideration of the Third Consent Motion for Continuance pursuant to 18 U .S.C.

S 3161(h)(7), the Court makes the following   findings:

        1.     Pursuant to the Speedy Trial Act, a trial must occur within 70 days ofthe filing date

of an indictment, or from the date the defendant appeared before a judicial officer of the court in

which such charge is pending, whichever occurs last. 18 U.S.C      S 3161(c)(1).
       2.      However, pursuant to 18 U.S.c.     S 3161(h)(7),   the Court may grant a continuance

of speedy trial when the ends of justice served by taking such action outweigh the best interest of

the public and the defendant in a speedy trial.

       3.      The Defendant in this action was indicted on March 22, 2018, and she had an initial

appearance and arraignment on March 27, 2018. (See Dkt. Nos. 37, 39.)

       4.      On April 18, 2018, the Court granted a consent motion for a continuance under the

Speedy Trial Act pursuant to 18 U.S.c.   S 3161(h)(7) that excluded the time   from March 27, 2018

through April 23, 2018 in computing the time within which trial must commence. (Dkt. No. 52.)
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       5.      On April 26, 2018, the Court granted a consent motion for a continuance under the

Speedy Trial Act pursuant to 18 U.S.c.    S 3161(h)(7) that   excluded the time from April 23, 2018

through May 18,2018 in computing the time within which trial must commence. (Dkt. No. 55.)

       6.      On May 16, 2018, the Defendant filed four motions to dismiss the Indictment, a

motion to strike a portion of the Indictment, and a motion for a bill of particulars. (Dkt. Nos. 56-

61.)

       7.      On May 21, 2018, the Court issued a Pretrial Scheduling Order that set a trial date

of January 7, 2019. (Dkt. No. 65.)

       8.      On September 10, 2018, the Court granted in part the Defendant's motion for a bill

of particulars, and the Court denied the remainder ofthe Defendant's motions. (Dkt. Nos. 83, 84.)

The Government filed its Bill of Particulars on October 10,2018. (Dkt. No. 85.)

       9.      Pursuant to 18 U.S.C.   S 3161(h)(7), the Government    now respectfully requests that

the time from September 10, 2018 through January 7, 2019 be excluded in computing the time

within which trial must commence, in order to provide time for counsel to review discovery and

time for preparation, taking into account the exercise of due diligence.

        10.    By and through counsel, the Defendant consents to a continuance of her right to a

speedy trial and exclusion of time under the Speedy Trial Act consistent with the preceding

paragraph.

       The Court concludes that pursuantto 18 U.S.C.     S 3161(h), the ends of justice   will be served

by excluding the time from September 10, 2018 through January 7, 2019 in computing the time

within which trial must commence pursuant to 18 U.S.C.        S 3161(h),   and those ends outweigh the

best interests of the public and the Defendant in a speedy trial.

       WHEREFORE, in the interest of the Defendant and the interests of the public, it is




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       HEREBY ORDERED that the time from September 10, 2018 through January 7, 2019

be excluded in computing the time within which trial must commence.




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